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                           UNITED STATES BANKRUPTCY COURT

                              EASTERN DISTRICT OF LOUISIANA

                                       *
   IN RE:                              *                       CASE NO.: 17-12870
                                       *
   REILLY-BENTON COMPANY, INC., *                              CHAPTER 7
                                       *
               Debtor                  *                       SECTION A
                                       *
   *************************************

                                               ORDER

          Considering the Emergency Ex Parte Joint Motion for Expedited Hearing on “Joint

   Motion of the Roussel & Clement Creditors, the Landry & Swarr Creditors, the Trustee, LIGA,

   Century, and PEIC to Extend the Dates and Deadlines in the Amended Scheduling Order” [P-

   206] (“Motion”) filed by the Roussel & Clement creditors, the Landry & Swarr Creditors, Chapter

   7 Trustee David V. Adler, the Louisiana Insurance Guaranty Association, Century Indemnity

   Company, and Pacific Employers Insurance Company (collectively, the “Parties”) on August 26,

   2022, and the proper parties having received notice,

          IT IS ORDERED that the Motion is GRANTED

          IT IS FURTHER ORDERED that the Joint Motion of the Roussel & Clement Creditors,

   the Landry & Swarr Creditors, the Trustee, LIGA, Century and PEIC to Extend the Dates and

   Deadlines in the Amended Scheduling Order [P-205] is scheduled for hearing at 3:30 p.m. on

   August 29, 2022 and will be heard before Hon. Meredith S. Grabill, U.S. Bankruptcy Judge for

   the Eastern District of Louisiana at the U.S. Bankruptcy Court, Eastern District of Louisiana, 500

   Poydras Street, Courtroom B-709, New Orleans, LA 70130, Teleconference Line: 1-888-684-

   8852; Access code: 9318283.
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           IT IS FURTHER ORDERED that counsel shall serve this order on the required parties

   who will not receive notice through the ECF system pursuant to the Federal Rules of Bankruptcy

   Procedure and the Local Bankruptcy Rules and file a certificate of service to that effect within three

   days.

                  New Orleans, Louisiana, August 26, 2022.



                                                  ____________________________________
                                                         MEREDITH S. GRABILL
                                                  UNITED STATES BANKRUPTCY JUDGE
